Case 2:23-cv-00409-CFK Document 13 Filed 04/24/23 Page 1 of 2

nts
ic

 

sca a

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

 

Civil Action No. _23-cv-00409-CFK

PROOF OF SERVICE
(This section should not be filed with the court unless required hy Fed, R. Ciy. P. 4 ())
JULIO ALDECOCES CEO

This summons for (name of individual and litle, if
any) LAKEVIEW LOAN SERVICE LLC, et. al.

 

was received by me on (date) — April 21,2023

(1 [personally served the summons on the individual at (place)

 

on (date) 3 or

 

(1) [left the summons at the individual’s residence or usual place of abode with (name
p
, a person of suitable age and discretion who resides there

?

on (date) , and mailed a copy to the individual’s last known address; or

I served the summons on (name of individual) | JULIO ALDECOCES CEO, LAKEVIEW LOAN SERVICE LLC, et.al. = who is

 

designated by law to accept service of process on behalf of (name of organization) Florfa Capital Couriers &
RAPID DELIVERY SERVICE on (date) April 21, 2023 : or

 

 

(1 Treturned the summons unexecuted because ; or

 

OQ) Other (specify):

 

 

My fees are $ —fortraveland$ . for services, for a total of $ 165.000
I declare under penalty of perjury that this information is true.

Date: April 21,2023

 

Server's signature

-Solomon: Millar

AuthOtized Rant aachtittye

5557 Boal dete fave De Lh Dh
Cites

Additional information regarding attempted service, etc:

 
Case 2:23-cv-00409-CFK Document 13 Filed 04/24/23 Page 2 of 2

yoda at Sai fat i

 

FIRST IN SAME DAY DELIVERY

RETURN OF SERVICE
On the o | Sf day of APR be , 2003

I, CAINERON, Kelly , served with the foregoing Lowery by

(describe method of service):

 

 

LER (RECEPTIONIST) D.C’ CAUCASIAN,
foie ae Swe EYES 220s ON BEALE oF

ANY

“ | certify that the statements in this return of service are true and
correct. | understand that false statements herein are made subject to
penaities of 18 Pa. C.S.A. § 4904 relating to oe falsification to

 
  

authorities.

 

 

Hoi )a% ho: ee
Puke Signatur

KML LAW GRouP, RC.

ame of. Person Served”

 

Commonwealth of Pennsylvania - Notary Seal
STEVEN ORTIZ-MORALES - Notary Public
Philadelphia County
My Commission Expires October 27, 2024
Commission Number 1355645

 

 

 
